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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF RHODE ISLAND

 STEVEN D. MURRAY,                          :
            Plaintiff                       :
 v.                                         :             C.A. No. 23-cv-
                                            :
 COMMUNITY COLLEGE OF                       :             Jury trial demanded
 RHODE ISLAND, alias, COUNCIL ON :
 POST SECONDARY EDUCATION, alias,:
 and ROSEMARY COSTIGAN, alias,              :
 in her individual and official capacities, :
               Defendants                   :

  PLAINTIFF’S RECORD APPENDIX IN SUPPORT OF HIS REPLY TO DEFENDANTS’
    OBJECTION TO HIS MOTION FOR TEMPORARY RESTRAINING ORDER AND
                    PRELIMINARY INJUNCTIVE RELIEF


 Exhibit No.          Description

     Y.               Affidavit of Mazin Adam (“Adam Aff.”), December 22, 2023.
     Z.               Affidavit of Steven D. Murray (“Murray Aff.”), December 22, 2023.
     AA.              Emails from Mickey Dargon. “Re: [External]: Steven D. Murray.”
                      November 21, 2023 and November 29, 2023.
     BB.              Steven Murray Interview Transcript with Community College of
                      Rhode Island (“CCRI”) Human Resources (“Murray Interview”).
                      December 7, 2023.
     CC.              Letter from Peter J. Harrington to Meghan Hughes Regarding
                      Interpretation of Violence in the Workplace Prevention Policy (“July
                      14, 2017 Harrington Letter”). July 14, 2017.
     DD.              Murray Personnel File.
     EE.              NECHE 2019 Interim Fifth-Year Report. January 15, 2019.
     FF.              CCRI NEASC 2014 Accreditation Report. 2014.
     GG.              CCRI Report on the Establishment of Academic Programming
                      Offered Through Distance Education (“CCRI 2009 Distance
                      Education Report”). October 2009.
     HH.              Email from Sybil Bailey. “Email Communications.” Received by
                      Steven D. Murray, Dated August 10, 2023.
     II.              Confidential Investigation and Report to Community College of
                      Rhode Island Concerning Steven D. Murray. Raymond A.
                      Marcaccio, Esq. September 21, 2023.

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                                    Plaintiffs,
                                    By their attorney,
                                    SINAPI LAW ASSOCIATES, LTD.

 Date: December 22, 2023            /s/ Richard A. Sinapi
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